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UNITED STATES DISTRICT COURT

District of Arizona

 

 

In the Matter of the Search of.
SUBJECT PARCEL: One USPS Priority Mail

Express parcel bearing USPS tracking number RRA
£1461686022US, addressed to ‘Precious Spratley, SEARCH WA 5
824 E Agua Fria IN, Avondale, AZ 85323,” with a Case Number: a-~ Se

return address of “Steven Smith, 1120 west main
Street, 38804.” It is a white Priority Mail
cardboard box; weighing approximately 4 pounds,
3 ounces; postmarked September 14, 2022; and
bearing 76.15 in postage.

TO: DAWN HAYNES and any Authorized Officer of the United States
Affidavit having been made before me by Affiant, Dawn Haynes, a Task Force Officer with the UNITED
STATES POSTAL INSPECTION SERVICE, on the premises known as:

SUBJECT PARCEL: One USPS Priority Mail Express parcel bearing USPS tracking number
E1461686022US, addressed to “Precious Spratley, 824 E Agua Fria IN, Avondale, AZ 85323,” with a return
address of “Steven Smith, 1120 west main Street, 38804.” It is a white Priority Mail cardboard box; weighing
approximately 4 pounds, 3 ounces; postmarked September 14, 2022; and bearing 76.15 in postage,

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, IN VIOLATION OF TITLE 21, UNITED
STATES CODE, SECTIONS 841(a)(1), 843(b) and 846, AS EVIDENCE OF SAID VIOLATIONS.

I am satisfied that the Affidavit establishes probable cause to believe that the property so described is now
concealed on the premises, described above, and establishes grounds for the issuance of this warrant.

YOU ARE HEREBY COMMANDED to search on or before oI ZO | ago (Date)
(not to exceed 14 days) the premises named above for the property specified, serving this warrant and making the
search in the daytime (6:00 a.m. to 10:00 p.m.), if the property be found there to seize same, leaving a copy of this
warrant and receipt for the property taken, and to prepare a written inventory of the property seized and promptly
return this warrant to any United States Magistrate Judge, District of Arizona as required by law.

See. \ bo D2 2 0 [207 at Phoenix Arizona

Date and Time Issued pi City and State

HONORABLE DEBORAH M. FINE An
UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer Signature of Judicial Officer

 

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UNITED STATES DISTRICT COURT

District of Arizona

 

 

In the Matter of the Search of:
SUBJECT PARCEL: One USPS Priority Mail .
Express parcel bearing USPS tracking number APPLICATION AND AFFIDAVIT

E1461686022US, addressed to “Precious Spratley, FOR SEARCH WARRANT
824 E Agua Fna IN, Avondale, AZ 85323,” with a Bpoe- sf{Oo ws

return address of “Steven Smith, 1120 west main
Street, 38804.” It is a white Priority Mail cardboard
box; weighing approximately 4 pounds, 3 ounces;
postmarked September 14, 2022; and bearing 76.15
in postage.

Case Number:

I, DAWN HAYNES, being duly sworn, depose and state as follows:

lam a TASK FORCE OFFICER WITH THE UNITED STATES POSTAL INSPECTION SERVICE and have
reason to believe that on the premises known as:

SUBJECT PARCEL: One USPS Priority Mail Express parcel bearing USPS tracking number
E1461686022US, addressed to “Precious Spratley, 824 E Agua Fria IN, Avondale, AZ 85323,” with a return
address of “Steven Smith, 1120 west main Street, 38804.” It is a white Priority Mail cardboard box; weighing
approximately 4 pounds, 3 ounces; postmarked September 14, 2022; and bearing 76.15 in postage,

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, which is CONTRABAND, THE FRUITS OF
CRIME, OR THINGS OTHERWISE CRIMINALLY POSSESSED,

in violation of Title 21, United States Code, Sections 841(a)(1), 843(b) and 846. The facts to support the issuance
of a Search Warrant are as follows:

SEE ATTACHED AFFIDAVIT OF DAWN HAYNES, WHICH IS MADE A PART HEREOF.

Authorized by AUSA Ryan McCarthy
RYAN MCCARTHY [L—~
MCCARTHY 98,2720 t :

 

 

Sworn to before me, and subscribed in my presence Signature of Affiant- DAWN HAYNES
SNe ow: | bo, 20% © | 0 at Phoenix, Arizona

Date ~ pw) (Bra be and State

HONORABLE DEBORAH M. FINE ( pba btle

UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer Signature of Judicial Officer

 
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AFFIDAVIT AND STATEMENT OF PROBABLE CAUSE
I, Dawn Haynes, being duly sworn, hereby depose and state as follows:

I. ] am a Task Force Officer with the United States Postal Inspection Service
(hereafter referred to as USPIS) and have been employed by the Mesa Police Department
since March of 2001. I had previously been employed as a police officer in Illinois from
January 1993 to March of 2001. I have completed a basic training course at the Mesa
Police Academy and Chicago (Illinois) Police Academy, which included training in the
investigation of narcotics trafficking. 1 am currently assigned to the Mesa Police
Department Organized Crime/East Valley DEA Task Force/K9 Interdiction unit. As part
of my duties, | have been involved in numerous narcotics investigations and have
authored and participated in numerous search warrants and drug investigations. I have
also received training from USPS, specifically the Phoenix Division Prohibited Mailings
Narcotics Team (PMNT) in Arizona, which is responsible for investigating narcotics
violations involving the United States Mail. As a member of this Task Force, my
responsibilities include the detection and prevention of the transportation of controlled
substances through the U.S. Mail. Part of my training as a TFO included narcotics
investigative techniques and training in the identification and detection of controlled
substances being transported in the U.S. Mail. In February of 2021, 1 was sworn in as a
USPS Task Force Officer by the authority of the Chief Postal Inspector of the USPIS. I
have assisted on narcotics investigations of individuals for violations of Title 21, United
States Code, Sections 841(a)(1) (Possession with Intent to Distribute a Controlled

Substance), 843(b) (Use of a Communication Facility to Facilitate the Distribution of a
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Controlled Substance), 846 (Conspiracy to Possess with Intent to Distribute a Controlled
Substance), and Title 18, United States Code, Section 1956(h) (Conspiracy to Commit
Money Laundering). The facts and information contained in this Affidavit are based on
my training and experience, or that of other Postal Inspectors and law enforcement
officers involved in this investigation as described below. | have assisted on narcotics
investigations of individuals for violations of Title 21, United States Code, Sections
841(a)(1) (Possession with Intent to Distribute a Controlled Substance), 843(b) (Use of a
Communication Facility to Facilitate the Distribution of a Controlled Substance), and 846
(Conspiracy to Possess with Intent to Distribute a Controlled Substance). The facts and
information contained in this Affidavit are based on my training and experience, or that -
of other Postal Inspectors and law enforcement officers involved in this investigation as
described below.

2. This Affidavit is made in support of an application for a search warrant for
one United States Postal Service (USPS) Priority Mail Express parcel (hereafter, referred
to as the “SUBJECT PARCEL”). The SUBJECT PARCEL is believed to contain
controlled substances or proceeds from the sale of controlled substances.

3. The SUBJECT PARCEL ts further described as follows:

One USPS Priority Mail Express parcel bearing USPS tracking number EI 461

686 022 US, addressed to “Precious Spratley, 824 E Agua Fria In, Avondale, AZ

85323” with a return address of “Steven Smith, 1120 west main Street, 38804.” It

is a white USPS Priority Mail cardboard box; weighing approximately 4 pounds
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and 3 ounces; postmarked September 14, 2022; and bearing $76.15 in postage
(hereinafter the SUBJ ECT PARCEL).
BACKGROUND

4, From my training and experience, as well as the training and experience of
other Postal Inspectors on the PMNT, I am aware that the USPS mail system is frequently
used to transport controlled substances and/or proceeds from the sale of controlled
substances to areas throughout the United States. I also know that drug traffickers prefer
mail/delivery services such as Priority Mail Express and Priority Mai! because of their
reliability and the ability to track the article’s progress to the intended delivery point.
When a drug trafficker learns that a mailed article has not arrived as scheduled, he/she
becomes suspicious of any delayed attempt to deliver the item.

5. Based on my training and experience regarding Priority Mail Express
operations, J am aware that the Priority Mail Express service was designed primarily to
fit the needs of businesses by providing overnight delivery for time-sensitive materials,
Moreover, based on my training and experience, | am aware that business mailings often:
(a) contain typewritten labels; (b) are addressed to and/or from a business; (c) are
contained within flat cardboard mailers; and (c) weigh less than eight ounces. In
addition, corporate charge accounts were developed by the United States Postal Service
to avoid time-consuming cash payments by businesses for business mailings.

6. Based on my training and experience, | am aware that the Priority Mail
service was created as a less expensive alternative to Priority Mail Express overnight

delivery, but designed to provide quicker, more reliable service than standard First-Class
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Mail. Whereas a customer mailing an article via Priority Mail Express expects next-day
service, a customer who mails an article via Priority Mail can expect two-to-three-day
delivery service. The USPS also provides a tracking service though a USPS tracking
number, which allows the customer to track the parcel and confirm delivery.

7. Based on my training and experience regarding Priority Mail operations, I
am aware that the majority of Priority Mail mailings are business mailings. Businesses
have found that Priority Mail is a significantly less expensive method of mailing than
Priority Mail Express, particularly when next-day service is not a requirement. I also
know that like Priority Mail Express, Priority Mail business mailings tend to be smaller,
lighter mailings, and on average, weigh less than two pounds. Examples of the typical
types of business mailings conducted via Priority Mail include books, clothing,
pharmaceuticals, and consumer goods purchased from online retailers.

8, From my training, personal experience, and the collective experiences
related to me by other Postal Inspectors on the PMNT who specialize in investigations
relating to the mailing of controlled substances and proceeds from the sale of controlled
substances, I am aware that the State of Arizona is a source location for controlled
substances based on its close proximity to the border between the United States and
Mexico. As such, controlled substances are frequently transported from Arizona via
USPS, and proceeds from the sale of controlled substances are frequently returned to
Arizona via USPS.

9. Based on my training and experience regarding the use of Priority Mail

Express and Priority Mail to transport controlled substances and the proceeds from the
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sale of controlled substances, I am aware these parcels usually contain some or all of the
following characteristics:
a. The parcel contains a label with handwritten address information and 1s
addressed from one individual to another individual;
b. The handwritten label on the parcel does not contain a business account
number, thereby indicating that the sender likely paid cash;
c. The parcel 1s heavier than the typical mailing, often weighing more than
eight ounces for Express Mail, and two pounds for Priority Mail; and
d. The parcel either: (a) was destined for an area known to be a frequent
destination point for controlled substances, having been mailed from an
area known to be a source area for controlled substances; or (b)
originated from an area known to be a frequent origination point for.
proceeds from the sale of controlled substances, having been mailed to
an area known to be a destination area for proceeds from the sale of
controlled substances
10. Priority Mail Express and Priority Mail parcels found to meet any or all of
the characteristics described above are often further scrutinized by Postal Inspectors
through address verifications and an examination by a trained narcotics detecting canine.
RELEVANT FACTS PERTAINING TO THE SUBJECT PARCELS
11. On September 14, 2022, your Affiant was alerted to a suspicious parcel at
the PDC post office in Phoenix, Arizona. Your Affiant responded to the PDC Post Office

to conduct a physical examination of the SUBJECT PARCEL.
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12. Upon physical examination of the SUBJECT PARCEL, the SUBJECT
PARCEL met some of the characteristics listed in Paragraph 9 above. The SUBJECT
PARCEL was addressed from one individual to another individual and bore handwritten
(insufficient) address label information. Also, the SUBJECT PARCEL was mailed to an
address in Arizona from an address in the State of Mississippi. Based on my training,
experience, and the collective experiences related to me by other Postal Inspectors on the
PMNT who specialize in investigations relating to the mailing of controlled substances
and proceeds from the sale of controlled substances, I am aware that the State of Arizona
is frequently a source location for controlled substances that are mailed to the State of
Mississippi, and that proceeds from the sale of controlled substances are frequently
returned to Arizona from Mississippi via USPS.

13. A database query was conducted regarding the names and addresses for the
SUBJECT PARCELS in Consolidated Lead Evaluation and Reporting (CLEAR), a law
enforcement database accessible to your Affiant. CLEAR associates addresses and
telephone numbers to individuals and business entities. The CLEAR database is created
from credit reports, law enforcement reports, utility records, and other public records.

14. Through the CLEAR database query, investigators learned that the delivery
address for the SUBJECT PARCEL was an existing, deliverable address and Precious
Spratley is associated with the address, 824 E Agua Fria Lane, Avondale, AZ 85323.
The same database query revealed that the return address for the SUBJECT PARCEL,

1120 West Main Street, Tupelo, MS 38804, was not an existing, deliverable address.
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CANINE EXAMINATION OF THE SUBJECT PARCELS

15. On September 15, 2022, Your Affiant utilized my drug-detecting canine
“Nicole” to inspect the SUBJECT PARCEL. The SUBJECT PARCEL was separated
and individually inspected by canine “Nicole”. “Nicole” gave a positive alert to the
SUBJECT PARCEL by lying down next to the SUBJECT PARCEL at approximately
08:39 AM.

16. | When canine “Nicole” laid down next to the SUBJECT PARCEL as she
did, “Nicole” has a total cease and desist of all forward progress with the expectation of a
reward. This “passive” alert given by “Nicole” indicates the presence, within the
SUBJECT PARCEL, of narcotics or a controlled substance, or currency, notes,
documents, or evidence bearing the presence of the odors of heroin, cocaine, marijuana,
or methamphetamine.

17. Your Affiant is currently assigned to the handling and care of Mesa Police
Department canine “Nicole.” “Nicole” is a five-year-old Belgian Malinois, who has been
working drugs/narcotics detection for the Mesa Police Department since February 2020.
“Nicole” and I currently hold a National Certification in drugs/narcotics detection by the
National Police Canine Association (NPCA) and were last certified in March 2022. My
certifications also include the completion of a canine certification course put on by Alpha
Canine training facility in Nashville, TN. “Nicole” is trained to detect the odors of
cocaine, marijuana, heroin, methamphetamine, and their derivatives. Since “Nicole”

began working at the Mesa Police Department, “Nicole” has had over 100 successful
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finds (both training finds and finds that have contributed to active investigations) of
controlled substances and/or the proceeds from the sales of controlled substances.
CONCLUSION

18. Based on these facts, there is probable cause to believe that the SUBJECT
PARCEL described in Paragraph 3 above contains controlled substances or proceeds
from the sale of controlled substances, constituting evidence of violations of Title 21,
United States Code, Sections 841(a)(1) (Possession with Intent to Distribute a Controlled
Substance), 843(b) (Use of a Communication Facility to Facilitate the Distribution of a

Controlled Substance) and 846 (Conspiracy to Distribute a Controlled Substance).

DAWN HAYNES
United States Postal Inspection Service TFO

Electronically Subscribed and swom to before me on this | (Duiay of September, 2022.

[<7 pm

HONORABLE DEBORAH M. FINE
United States Magistrate Judge
